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 6 Attorneys for Plaintiff
   United States of America
 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:16-CR-00046 GEB

12                                     Plaintiff,          STIPULATION AND PROTECTIVE ORDER

13                              v.

14   ZALATHIEL AGUILA,

15                                     Defendant.

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               WHEREAS, the parties desire to prevent the unauthorized disclosure or dissemination of certain
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     sensitive but unclassified discovery materials to anyone not a party to the court proceedings in this
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     matter;
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               WHEREAS, the sensitive but unclassified discovery materials at issue include information
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     pertaining to victims or potential victims in this case, including personal identifying information and
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     financial information, as well as various personal identifying information for straw buyers and others
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     involved in this matter;
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               WHEREAS, the parties agree that entry of a stipulated protective order is appropriate, and that a
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     private agreement is not appropriate in light of the nature of the information at issue and the charges in
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     this case; and
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               WHEREAS, the defendant has counsel (“Defense Counsel”) who wishes to have the opportunity
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     Stipulation & [Proposed] Protective Order             1
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 1 to review the discovery;

 2          Defendant ZALATHIEL AGUILA and plaintiff United States of America, by and through their

 3 counsel of record, hereby agree and stipulate as follows:

 4          1.       This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 5 Criminal Procedure, its general supervisory authority, and Local Rule 141.1.

 6          2.       This Order pertains to all discovery provided to or made available to Defense Counsel in

 7 this case (hereafter, collectively known as “protected discovery”).

 8          3.       Defense Counsel shall not disclose any of the protected discovery to any person other

 9 than their respective client, or attorneys, law clerks, paralegals, secretaries, experts, and investigators,

10 involved in the representation of their respective client. However, at no time shall defendant be

11 permitted to review the protected discovery outside of the presence of Defense Counsel or Defense

12 Counsel’s partners, associates, or employees as designated by Defense Counsel, and Defense Counsel or

13 his/her designee shall not leave any of the protected discovery with defendant at any location.

14          4.       The protected discovery and information therein may only be used in connection with the

15 litigation of this case and for no other purpose. The protected discovery is now and will forever remain

16 the property of the United States Government. Defense Counsel will return the protected discovery to

17 the Government or certify that it has been shredded at the conclusion of the case, to include any appeal,

18 and/or collateral attack.

19          5.       Defense Counsel will store the protected discovery in a secure place, such as Defense

20 Counsel’s private office, and will use reasonable care to ensure that it is not disclosed to third persons or

21 their respective client in violation of this agreement.

22          6.       If Defense Counsel releases custody of any of the protected discovery, or authorized

23 copies thereof, to any person described in paragraph (3), Defense Counsel shall provide such recipients

24 with copies of this Order and advise that person that the protected discovery is the property of the United

25 States Government, that the protected discovery and information therein may only be used in connection

26 with the litigation of this case and for no other purpose, and that an unauthorized use of the protected

27 discovery may constitute a violation of law and/or contempt of court.

28          7.       In the event that defendant obtains substitute counsel, undersigned Defense Counsel

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 1 agrees not to disclose any protected discovery to successor counsel absent a court order that a) Defense

 2 Counsel be relieved, b) successor counsel be appointed, and c) all discovery be turned over to successor

 3 counsel.

 4          8.       Defense Counsel shall be responsible for advising their client, employees, and other

 5 members of the defense team of the contents of this Stipulation/Order.

 6          IT IS SO STIPULATED.

 7 Dated: May 19, 2016                             Respectfully submitted,

 8
                                                          PHILLIP A. TALBERT
 9                                                        Acting United States Attorney

10                                                 By:    /s/ Matthew M. Yelovich
                                                          MATTHEW M. YELOVICH
11                                                        Assistant U.S. Attorney

12

13                                                 By:    /s/ Bruce Locke____________
                                                          Bruce Locke
14                                                        Counsel for ZALATHIEL AGUILA

15

16                                                   ORDER

17          IT IS SO FOUND AND ORDERED.

18 Dated: May 20, 2016

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     Stipulation & [Proposed] Protective Order           3
